     Case 4:18-cr-00223-RCC-DTF Document 147 Filed 12/20/18 Page 1 of 3




 1    Gregory J. Kuykendall, Bar # 012508
      Amy P. Knight, Bar # 031374
 2    KUYKENDALL & ASSOCIATES
 3    531 S Convent Avenue
      Tucson, AZ 85701
 4
      (520) 792-8033
 5    greg@kuykendall-law.com
      amyknight@kuykendall-law.com
 6
 7    Attorneys for Defendant Scott Daniel Warren
 8
                           UNITED STATES DISTRICT COURT
 9                                DISTRICT OF ARIZONA
10
11
      United States of America,         )
12                                      ) No.CR-18-00223-001-TUC-RCC
13
                Plaintiff,              )
                                        ) UNOPPOSED         MOTION      TO
14    vs.                               ) CONTINUE TRIAL
15                                      )
      SCOTT DANIEL WARREN,              )
16                                      )
17              Defendant.              )
                                        )
18        It is expected that excludable delay under Title 18 U.S.C. Section
19
      3161(h)(7)(A) may occur as a result of this motion or of an order based thereon.
20
21          Defendant, Scott Daniel Warren, by and through his pro bono attorneys
22    Gregory J. Kuykendall and Amy P. Knight, respectfully requests that this Court
23
      vacate the January 8, 2019 trial date. Defendant requests that the Court convene a
24
25    scheduling conference in conjunction with the currently scheduled motion hearing
26    on January 14, 2019 to select a new trial date.
27
28
     Case 4:18-cr-00223-RCC-DTF Document 147 Filed 12/20/18 Page 2 of 3




 1           This proposed continuance is being requested because significant issues
 2    remain to be resolved before a trial can be conducted in this case. At this Court
 3
      knows, substantive motions remain pending, including a motion to suppress key
 4
 5    evidence (fully briefed since September 4, 2018), a motion to reconsider denial of
 6    the motion to dismiss under the Religious Freedom Restoration Act (filed
 7
      September 26, 2018), and a motion to dismiss based on international law (fully
 8
 9    briefed since December 12, 2018). In addition, the defense has recently asked this
10
      Court to reconsider an order entered by the Magistrate Judge concerning discovery
11
      on a selective enforcement claim, and this Court has set that motion for hearing on
12
13    January 14, 2019—after the current trial date. Whatever the outcome of that
14
      motion, the defense will still require time to file appropriate substantive motions
15
16
      based on the Government’s disclosure regarding selective enforcement.

17          Counsel for the Government have been consulted and have no objection to
18
      this motion. Undersigned counsel avows that this request for a continuance has not
19
20    been made for purposes of harassment or delay.

21          RESPECTFULLY SUBMITTED this 20th day of December, 2018.
22
                                                    By /s/ Amy P. Knight
23                                                         Gregory J. Kuykendall
24                                                         Amy P. Knight
                                                           531 S Convent Avenue
25                                                         Tucson, AZ 85701
26                                                         Attorneys for Defendant Scott
                                                           Daniel Warren
27
28



                                                2
     Case 4:18-cr-00223-RCC-DTF Document 147 Filed 12/20/18 Page 3 of 3




 1                             CERTIFICATE OF SERVICE
 2           I certify that on December 20th, 2018, I electronically transmitted a PDF
 3    version of this document to the Clerk of Court using the CM/ECF System for filing
      and for transmittal of a Notice of Electronic Filing to the following CM/ECF
 4    registrants:
 5
            Nathaniel J. Walters, Esq. (email: Nathaniel.walters@usdoj.gov)
 6          Anna R. Wright, Esq. (email: anna.wright@usdoj.gov)
 7          United States Attorney’s Office
            405 W. Congress, Suite 4800
 8
            Tucson, AZ 85701
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28



                                              3
